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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION
                                          MDL 2804
OPIATE LITIGATION
                                          Case No. 17-md-2804
This document relates to:
                                          Hon. Dan Aaron Polster
All Cases




               NOTICE OF PUBLIC DISCLOSURE OF ARCOS DATA

      On July 15, 2019, the Court entered an Order (Dkt. 1845) regarding public

access to the ARCOS data covering opioid shipments from 2006 to 2012. Please take

notice the PEC has posted links to both the raw data provided by the DEA as well as

the processed data utilized by the PEC at www.slcg.com. The two links allow anyone to

download the raw and processed data. These files are very large; download time will

depend on the user’s computing resources and the number of users attempting to

download the files. For any questions or support concerning this ARCOS data contact

ARCOS@levinlaw.com


                                             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 18, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of

record by, and may be obtained through, the Court CM/ECF system.


                                                 s/Peter H. Weinberger
                                                 Peter H. Weinberger
                                                 Plaintiffs’ Co-Liaison Counsel




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